Case 2:15-cv-01431-JRG-RSP Document 33 Filed 12/04/15 Page 1 of 2 PageID #: 118




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                                    §
 ROTHSCHILD CONNECTED DEVICES                       §
 INNOVATIONS, LLC,                                  §
                                                    §
        Plaintiff,                                  §
                                                    §
        v.                                          §
 GUARDIAN PROTECTION SERVICES, INC.                 § 2:15-cv-01431-JRG-RSP
 __________________________________________________ §__(lead case)______________
 ADS SECURITY, LP                                   § 2:15-cv-01463-JRG-RSP
 ALARM SECURITY GROUP, LLC                          § 2:15-cv-01464-JRG-RSP
 CENTRAL SECURITY GROUP NATIONWIDE, INC.            § 2:15-cv-01462-JRG-RSP
 GUARDIAN ALARM COMPANY                             § 2:15-cv-01496-JRG-RSP
 GUARDIAN OF GEORGIA, INC. D/B/A ACKERMAN           § 2:15-cv-01429-JRG-RSP
 SECURITY SYSTEMS                                   §
 ICON SECURITY SYSTEMS, INC.                        § 2:15-cv-01468-JRG-RSP
 MONITRONICS INTERNATIONAL, INC.                    § 2:15-cv-01466-JRG-RSP
 SLOMIN’S, INC.                                     § 2:15-cv-01469-JRG-RSP
        Defendants.


     NOTICE OF COMPLIANCE WITH COURT’S STANDING ORDER REGARDING
                       MOTIONS UNDER 35 USC 101


          In compliance with this Court’s Standing Order Regarding Motions Under

 35 U.S.C. § 101 and Accompanying Certifications in Cases Assigned to United States District

 Judge Rodney Gilstrap (entered November 10, 2015), Plaintiff Rothschild Connected Devices

 Innovations, LLC. (“RCDI”) and Defendant ADS Security L.P. (“ADS”) file this Notice of their

 letter to the Court briefing the issue as to whether claim construction is necessary before

 deciding Defendant ADS Security L.P.’s Motion for Judgment on the Pleadings. A copy of the

 letter is attached as Exhibit 1.




 4850-2882-6155.1
Case 2:15-cv-01431-JRG-RSP Document 33 Filed 12/04/15 Page 2 of 2 PageID #: 119




                                                Respectfully submitted,

 /s/ Jay Johnson                                _/s/Nathan J. Bailey
 JAY JOHNSON                                    Nathan J. Bailey, Lead Counsel
 State Bar No. 24067322                         TN BPR # 026183
 D. BRADLEY KIZZIA                              WALLER LANSDEN
 State Bar No. 11547550                         DORTCH & DAVIS, LLP.
 ANTHONY RICCIARDELLI                           Nashville City Center
 State Bar No. 24070493                         511 Union Street, Suite 2700
 KIZZIA JOHNSON, PLLC                           Nashville, TN 37219
 750 N. St. Paul Street, Suite 1320             Telephone: (615) 244-6380
 Dallas, Texas 75201                            Facsimile: (615) 244-6804
 (214) 613-3350                                 Nate.Bailey@wallerlaw.com
 Fax: (214) 613-3330
 jay@kjpllc.com                                 Attorneys for ADS Security, L.P.
 brad@kjpllc.com
 anthony@kjpllc.com

 Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE

         The undersigned certifies that all counsel of record are being served with a copy of this
 document via ECF, on December 4, 2015. Pursuant to Local Rule CV-5, this constitutes service
 on all counsel of record.

                                                             /s/ Nathan J. Bailey
                                                             Nathan J. Bailey




 4850-2882-6155.1
